                                        IN THE UNITED STATES DISTRICT COURT FOR
                                            THE WESTERN DISTRICT OF VIRGINIA
                                                   ROANOKE DIVISION

 MOUNTAIN VALLEY PIPELINE, LLC,                             )
                                                            )
              Plaintiff,                                    )
                                                            )
   v.                                                       )      Civil Action No. 7:17-cv-00492
                                                            )
 EASEMENTS TO CONSTRUCT,                                    )      By: Elizabeth K. Dillon
 OPERATE, AND MAINTAIN A                                    )          United States District Judge
 NATURAL GAS PIPELINE OVER                                  )
 TRACTS OF LAND IN GILES COUNTY,                            )
 CRAIG COUNTY, MONTGOMERY                                   )
 COUNTY, ROANOKE COUNTY,                                    )
 FRANKLIN COUNTY, AND                                       )
 PITTSYLVANIA COUNTY, VIRGINIA, et                          )
 al.,                                                       )
                                                            )
              Defendants.                                   )

                  MEMORANDUM OPINION ON CROSS-MOTIONS FOR CONTEMPT

              On April 20, 2018, Mountain Valley Pipeline (MVP) filed a verified motion asking the

 court to enforce a prior order and to hold in contempt John Coles Terry III (Coles), who is an

 owner of two parcels of land, MVP Parcel Nos. VA-RO-45 and VA-RO-046, that are part of this

 condemnation proceeding.1 (Dkt. No. 790.) The motion also asks the court to hold in contempt

 Coles’ wife, Theresa Ellen “Red” Terry (Red), and his daughter, Theresa Minor Terry (Minor).

 (Id. at 6–7.) As all parties agree, Red and Minor are occupying tree stands on the parcels that are

 within the path of the easements over which MVP has been granted immediate possession by this




 																																																								
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            The other two owners of the second parcel, Frank H. Terry, Jr. and Elizabeth Lee Terry, were named in
 MVP’s motion for contempt. The parties subsequently agreed that they should be dismissed without prejudice as to
 both MVP’s contempt motion and for purposes of the Terrys’ cross-motion for contempt. The court granted that
 oral request, subject to the parties’ agreed condition that those two landowners will not interfere with or contest any
 order resulting from the contempt proceedings.



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 court (Easements).2 In its verified motion, MVP alleges that Coles, Red, and Minor are in

 contempt of the court’s March 7, 2008 orders granting MVP possession of the Easements, which

 precluded landowners from interfering with MVP’s use of and access to the Easements. It asks

 that the court impose measures designed to coerce compliance with that measure and, if

 necessary, to have Red and Minor removed from the tree stands so that it may continue its

 activities on the Easements.

              Upon receipt and review of the motion for contempt, the court issued an order to show

 cause, setting the motion for a May 1, 2018 hearing and directing all three Terrys to appear.

 Coles appeared for the hearing, and all three Terrys were represented by the same counsel.

 Although it is undisputed that Red and Minor had actual notice of the motion and the order to

 show cause, they did not come down from their respective tree stands, and they were not present

 at the hearing.

              The Terrys’ written response to the motion for contempt includes a cross-motion asking

 the court to hold MVP in contempt. (Dkt. No. 830.) In it, they assert that MVP is prohibited by

 the court’s prior orders from felling trees after March 31, 2018, and thus that it is MVP who is

 violating the court’s orders. They rely on the same basic theory as a defense to the contempt

 motion against them, among other arguments. The Terrys’ suggested remedy is for the court to

 prevent MVP from engaging in all tree-felling until November 2018.

              At a brief status conference held the day before the hearing, MVP agreed that it could be

 prepared to present evidence and argument on the cross-motion at the same May 1, 2018 hearing

 already set for its motion. (Dkt. No. 835.) MVP also filed a written opposition to the motion


 																																																								
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             According to undisputed testimony at the hearing, Red is on VA-RO-046 and Minor is on VA-RO-045.
 There is a third tree stand on the Terry parcels, but it is out of the limits of the Easements and not at issue in these
 motions.	

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 shortly before the hearing. (Dkt. No. 836.) Thus, in a hearing lasting more than four hours, the

 court received evidence and heard argument on both motions, which are now ripe for disposition.

              For the reasons set forth herein, the court will deny the Terrys’ motion for contempt and

 will grant MVP’s motion and find Coles, Red, and Minor in contempt. The court will impose

 sanctions on all three of them: on Coles in an attempt to partially compensate MVP for his

 violations, and on Red and Minor in an attempt to coerce their compliance with the court’s prior

 order.

                                                            I. FACTUAL BACKGROUND3

              In October 2017, after a years-long process of reviewing MVP’s application and

 receiving public comments, the Federal Energy Regulatory Commission (FERC) granted a

 certificate giving MVP the right to condemn the Easements under the Natural Gas Act. MVP

 then filed this condemnation suit, seeking to condemn all Easements along the FERC-approved

 path for the pipeline. On January 31, 2018, the court granted MVP’s motion for partial summary

 judgment, concluding that the FERC order gave MVP the right to condemn Easements on the

 land parcels along the approved route of its pipeline, which included the Easements on the two

 Terry parcels. (Dkt. Nos. 339, 340.) The court also determined that MVP was entitled to

 immediate possession of the parcels before the completion of condemnation proceedings in this

 case. Thus, after MVP posted the security required by the court, the court entered orders

 granting immediate possession of the Easements to MVP. (Dkt. Nos. 592, 593.)

              Both of those orders included the following language, which MVP alleges in its motion

 that the Terrys have violated:



 																																																								
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            Because the legal background of this condemnation case has been discussed extensively in other opinions
 and orders, the court recites only that background pertinent to the contempt motions.

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                            It is further ORDERED that defendants and their agents, servants,
                            employees, and those in active concert and participation with them,
                            are prohibited from delaying, obstructing, or interfering with
                            access to or use of the Easements by MVP or its agents, servants,
                            employees, or contractors.

 (Dkt. Nos. 592, 593.)

              After obtaining immediate possession, MVP began tree-felling along the pipeline route,

 including tree-felling by hand on both Terry properties. Since April 2, 2018, and April 3, 2018,

 respectively, Red and Minor have been in the tree stands continuously.4 They remained there

 through the time of the May 1, 2018 hearing, and no one has advised the court that they have

 since vacated the tree stands.

              MVP’s contractors were tree-felling on both parcels on April 12, 2018, but they did not

 cut trees in the immediate areas of the tree stands because of the obvious danger to Minor and

 Red. Instead, MVP contacted the Roanoke County Police. According to briefing in the case,

 both Red and Minor have been charged with misdemeanor trespass and other misdemeanor

 offenses in Roanoke County. Although warrants have been issued for their arrests, they have

 steadfastly refused to come down from their tree stands. Subsequent to the issuance of the

 warrants, the Roanoke County Police have maintained a presence at the base of the tree stands

 and set up a security perimeter that keeps others from delivering supplies or other materials to

 Red or Minor. It appears that the police may be waiting to execute the warrants until the women

 voluntarily come down from their tree stands, and the police have been sending up food and

 water to Red and Minor since their supplies ran out. After continued refusals by Minor and Red

 to vacate the tree stands and allow MVP to continue its activities, MVP filed its contempt

 motion.
 																																																								
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             At the hearing, there was also credible testimony from one of MVP’s security officers that Red had been
 in the tree stand at some point in March, had come down for Easter (which was April 1, 2018), and then had gone
 back up.

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              Additional facts relevant to both motions will be discussed in the context of analyzing the

 motions for contempt.

                                                            II.   DISCUSSION

              MVP contends that it has been harmed and delayed in its ability to fell trees on the

 Easements located on the Terry properties as a result of the occupancy of the tree stands, and it

 requests that the court hold all three Terrys in contempt. The Terrys, for their part, argue that it

 is MVP who is in violation of the court’s prior order. They contend that MVP has violated the

 court’s January 31, 2018 memorandum opinion and order by continuing to fell trees after March

 31, 2018, which they say is inconsistent with representations MVP made to the court to obtain

 that order. After discussing the applicable legal standards, the court will address the Terrys’

 motion first and then will turn to MVP’s motion.

 A. Standards for Civil Contempt5

              In order to find a person in civil contempt, the person moving for a contempt finding

 must prove each of the following elements by clear and convincing evidence:

                            (1) the existence of a valid decree of which the alleged contemnor
                            had actual or constructive knowledge;

                            (2) that the decree was in the movant’s “favor”;

                            (3) that the alleged contemnor by its conduct violated the terms of
                            the decree, and had knowledge (at least constructive knowledge) of
                            such violations; and

                            (4) that [the] movant suffered harm as a result.

 Ashcraft v. Conoco, Inc., 218 F.3d 288, 301 (4th Cir. 2000) (citation omitted).




 																																																								
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           As the court noted in its order to show cause, the contempt proceedings and the sanctions the court
 imposes are designed to compensate MVP and/or obtain compliance with the court’s prior order, not to punish.
 Because their purpose is not punishment, they are civil in nature. (Dkt. No. 812 at 2–3.)

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              The Fourth Circuit has also held that “the plain language of [Federal Rule of Civil

 Procedure 65] establishes the principle that a court, in the exercise of its equitable powers, may

 hold in contempt those who act in concert with named parties to frustrate an injunctive decree or

 to avoid compliance with it. The principle is confirmed by precedent.” E.E.O.C v. Int’l

 Longshoremen’s Assoc., 541 F.2d 1062, 1064 n.1 (4th Cir. 1976) (citing Regal Knitwear Co. v.

 N.L.R.B., 324 U.S. 9 (1945), Thaxton v. Vaughan, 321 F.2d 474 (4th Cir. 1963), Day Companies

 v. Patat, 440 F.2d 1343 (5th Cir. 1971), and Alemite Mfg. Corp. v. Staff, 42 F.2d 832, 833 (2d

 Cir. 1930)). Thus, the mere fact that Red and Minor are not parties to the underlying suit or

 injunction does not protect them from being held in contempt.6

              The parties stipulated that Coles, Red, and Minor all received actual notice of MVP’s

 motion and the court’s order to show cause, which set the matter for a hearing. Additionally,

 MVP received notice of the Terrys’ cross-motion for contempt and had the opportunity to file a

 written response (albeit in a very brief amount of time) and to argue its merits at the hearing.

 Thus, the court concludes that all three Terrys and MVP had adequate notice of the possibility

 that they might be found in contempt and had an opportunity to be heard, despite Red’s and

 Minor’s failure to appear except through counsel.

 B. Contempt Motion Against MVP

              The Terrys’ theory of MVP’s contempt is that “[a]ny tree felling by MVP after March 31,

 2018, directly violates the plain language of this Court’s opinion and orders.” (Dkt. No. 830 at

 5.) They point to the court’s factual recitations in its January 31, 2018 memorandum opinion

 (incorporated by reference in its order of the same date) and to the following language in the

 																																																								
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            The Terrys do not dispute this principle generally, but they contend that Minor and Red cannot be held in
 contempt unless and until the court finds a party to the injunction in contempt, and the court finds that they have
 aided and abetted that party in violating the injunction. Given the court’s conclusion herein that both of these
 predicates are satisfied (i.e., the court finds herein that Coles has violated the injunction and that both Minor and
 Red have acted in concert with him in doing so), this argument is moot.

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 March 7, 2018 orders granting immediate possession: “Landowners may fully use and enjoy the

 premises to the extent that such use and enjoyment does not interfere with or obstruct MVP’s

 rights described herein.” (Dkt. Nos. 592, 593.)

              The Terrys’ cross-motion7 to hold MVP in contempt fails because the Terrys have not put

 forth clear and convincing evidence sufficient to establish all four elements of contempt.

 Further, the legal arguments they advance do not convince the court—clearly or otherwise—that

 MVP is in contempt of the court’s orders.

              Turning to the contempt elements, the parties agree, and the court so finds, that the

 court’s orders are valid decrees and that MVP had notice of them. So, the first element is

 established.

              As to the second element, the Terrys argue that the order is in their favor because it notes

 their right to enjoy their property. Although the order reserves to the landowners the right to use

 their land so long as they do not interfere with or obstruct the broad grant to MVP, the court

 cannot find—and certainly not by clear and convincing evidence—that this reservation of rights

 means the order is in the Terrys’ favor. Instead, the court concludes that neither the January 31,

 2018 memorandum opinion and order, nor the ultimate orders awarding immediate possession,

 can be construed as being “in favor” of the landowners or of Red and Minor. Notably, the Terrys

 and many other landowner defendants, through counsel, expended tremendous effort and time in

 opposing the result in all of those court decrees. In combination, those orders granted to MVP

 immediate possession and the right to begin clearing trees and to begin construction on the

 pipeline, consistent with FERC requirements. That result was not in the Terrys’ favor.

 Furthermore, the reservation of rights provision on which the Terrys rely was not entered or

 																																																								
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            Although Coles is the only “landowner” bringing the contempt motion, the motion is purportedly brought
 on behalf of Red and Minor, as well. Thus, the court refers to it as the Terrys’ motion.

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 included over MVP’s objection; indeed, MVP never asked the court to deprive landowners of

 these rights.

         Even if that one paragraph could somehow render the order in favor of the landowners,

 the Terrys have not shown the third element—that MVP is in violation of that order or the

 court’s prior orders. In particular, they do not point to a specific provision in any order in which

 the court prohibited MVP from tree-felling in any area after March 31, 2018. Indeed, nothing in

 any of the court’s orders explicitly—or implicitly—requires that tree-felling begin or end on a

 certain date. Accordingly, the court finds that the Terrys have failed to show that MVP’s tree-

 felling after March 31, 2018, constituted a violation of any term of the court’s decree.

         The Terrys argue, though, that allegedly misleading or false information given by MVP,

 which was repeated in the court’s January 31, 2018 memorandum opinion, results in such a

 restriction. That is, they allege that MVP provided testimony, relied upon by the court to grant

 MVP immediate possession, that it could not fell in certain areas after March 31 due to the

 restrictions to protect bats and a “current” inability to “mist-net or catch the bats.” Then, they

 allege that MVP subsequently told FERC it could fell in a much larger area after that date

 because there were no bats to protect. At the hearing, the Terrys’ counsel suggested that MVP

 either mistakenly or intentionally misled the court. He then claimed that because the court relied

 on that incorrect assertion and referenced it in its opinion, any tree-felling after that date violated

 the court’s order.

         But this argument is based on an incomplete reading of the testimony at the January

 hearing. The Terrys allege that MVP told the court that nearly all of the tree-felling had to be

 completed by March 31, 2018. They claim that Robert Cooper, the project manager, testified

 that there were 75 miles of pipeline subject to the bat restrictions and that MVP could not fell



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 trees along those 75 miles after March 31, 2018. (Dkt. No. 830.) The court’s opinion certainly

 did not recite the entirety of Mr. Cooper’s testimony, and the Terrys are inaccurately describing

 that testimony.

              MVP’s witness, Mr. Cooper, testified that there were close to 20 miles of pipeline that

 “are definitely within the bat window,” but that “based upon the portals [i.e., potential bat

 hibernation sites] that we haven’t surveyed, that could expand to about 75 miles.” (Day 1 Hr’g

 Tr. 123.) Based on this testimony, the court noted in its opinion that tree clearing was limited to

 the period between November 15 and March 31 in “locations with protected bats.” (Dkt. No.

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 339 at 28.) It also noted that “at least 20 miles are affected by the bat restrictions, but the

 number of miles could be up to 75.” (Id. at 28 & n.17.) Terrys’ counsel chose to ignore the

 “locations with protected bats” and “up to” language at the hearing on the contempt motions.

              Additionally, on cross-examination by counsel for various landowners at the January

 hearing, Mr. Cooper gave more detail. He said that there were “about 16 miles of the pipeline”

 where “for certain” the trees had to be cut down before March 31. (Id. at 178.) There were

 another 50 miles where the portal surveys had not yet been conducted. (Id.) But he explained

 that there were a “couple of choices” as to how to proceed in the unsurveyed areas. (Id.) The

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 “conservative approach”—and the one referenced by the court in its opinion at footnote 17 —

 would be to assume that the bats are there and clear trees by March 31. The other option would


 																																																								
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              The court acknowledges that the portion of its opinion stating that “at least 20 miles were affected by the
 bat restrictions,” was not entirely accurate. (Dkt. No. 339 at 28 & n.17.) The court should have stated either “close
 to 20 miles” or “about 16 miles,” which were the two estimates given by Mr. Cooper. (Id. at 178.)
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             The court notes that it did not list all of MVP’s options, or capture the entirety of Mr. Cooper’s
 testimony, in its description of the miles that could and could not be surveyed, by what methods, and when.
 (Compare id. with Day 1 Hr’g Tr. at 176–80.) Since there was a focus on the March 31, 2018 date at the January
 hearing, it is understandable that there could be confusion regarding the breadth of the parcels subject to the March
 31, 2018 tree-felling deadline. Regardless, though, the March 31, 2018 date as it relates to bats was not the only—or
 even the primary—basis for the court’s grant of immediate possession, as explained more fully in the opinion. (Dkt.
 No. 339 at 27–34.)

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 be to survey (since mist and net-catching were not allowed) and if “it turns out that there are no

 portals [on a tract], then you can be afforded this expanded window for the bats [i.e., April and

 May], as long as you’re far enough away from other portals that existed.” (Id. at 123, 177–78.)

 Notably, there was no evidence regarding which tracts were bat-protected tracts, and there was

 certainly no evidence that the Terrys’ properties were bat-protected properties.

         Furthermore—and more importantly for purposes of this proceeding—the court’s

 description of a witness’s testimony about when tree felling could and could not occur pursuant

 to various guidelines is not the equivalent of a command or a directive to MVP about when it

 could or could not fell trees. Those determinations are made by FERC, based on its

 interpretation of MVP’s compliance with the FERC certificate and its subsequent instructions.

 As the court referenced repeatedly in that same opinion, in Natural Gas Act condemnation cases

 like this, the court has a limited role of ordering condemnation as authorized by the FERC

 certificate. (Id. at 5; see also id. at 20–21 (collecting authority holding that a certificate-holder’s

 failure to comply with FERC conditions does not affect its ability to exercise eminent domain);

 id. at 17–18 n.11 (“compliance with any condition in the certificate is an issue for FERC, not this

 court”).) Because the Terrys have not shown clearly and convincingly that MVP violated an

 order of this court, they have failed to establish the third element of their contempt claim. 	

         Having held that MVP did not violate a court order, there is logically no harm caused by

 any violation, so they have failed to satisfy the fourth element, as well. The Terrys’ cross-

 motion for contempt will be denied.




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 C. Contempt Allegations Against Coles Terry

        The court now turns to MVP’s motion for contempt.

        With regard to the contempt allegation against Coles Terry, the first element is conceded

 by him, i.e., that he had actual knowledge of a valid court decree—the orders of immediate

 possession over both parcels, which plainly prohibited him from “delaying, obstructing, or

 interfering with access to or use of the Easements by MVP or its agents, servants, employees, or

 contractors.” (Dkt. Nos. 592, 593.) The second element, as noted above, has been established.

 The order was in MVP’s favor.

        The third element has also been shown by clear and convincing evidence. Despite being

 a party to the underlying action and bound by the court’s order, Coles engaged in behavior that,

 coupled with the actions of his wife and daughter, has delayed, obstructed, and interfered with

 MVP’s use of the Easements. Coles has readily admitted that he provided both physical support

 and emotional support and encouragement for Red and Minor to be in, and stay in, their tree

 stands. For example, he testified that he provided food and drink to his wife and daughter in the

 tree stands from the time they went up in the tree stands until April 12, 2018, when the Roanoke

 County Police cordoned off the area. He gave advice to at least one person building the tree

 stands regarding how best to secure them to the tree. And he admitted that he assisted Minor

 with either carrying or placing a ladder to help her get up to her tree stand. Despite being the

 landowner of the property where the Easements lie, he conceded that he has never told Red or

 Minor to come down from the tree stands; rather, he has visited them regularly and told them

 both that they are doing a good job. He further vows to continue to support them. In his own

 words, as shown in one of the videos admitted into evidence: “My wife and my daughter are

 fully prepared to be up there for the long run. They’re there to stay, they’re there to fight this



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 thing, and I’m there to support them any way I can.” In summary, he has offered both material

 assistance and encouragement to two people who are actively interfering with MVP’s ability to

 conduct its construction activities on the Easements located on his parcels.

        Similar conduct by persons subject to an injunction, which resulted in a clear violation by

 non-parties, warranted contempt sanctions. See, e.g., Roe v. Operation Rescue, 54 F.3d 133,

 138–39 (3d Cir. 1995) (reversing district court where it failed to enter a contempt order against a

 party who, although he was not present and did not participate directly in a blockade that

 violated the injunction, gave a speech encouraging others to attend and helped to organize,

 publicize, and raise money to support the blockade); see also Regal Knitwear, 324 U.S. at 14

 (“[D]efendants may not nullify a decree by carrying out prohibited acts through aiders and

 abettors, although they were not parties to the original proceeding.”). Clear and convincing

 evidence of Coles’s violations has been shown.

        Coles argues that it was not his idea for his wife and daughter to go up into the tree, and

 thus at most, he was aiding and abetting them, not the other way around. But nothing in Rule

 65(d) or in any case identified by the Terrys requires the initiation of the violation to come from

 the party, as opposed to the non-party. Rule 65(d)(2)(C) refers to “active concert” or

 participation, and that is satisfied here. Thus, the fact that it was originally Red’s or Minor’s idea

 to occupy a tree stand within MVP’s easements on Coles’s properties does not absolve him of his

 obligation not to violate the court’s order. And by working in active concert with them, he has

 violated it. Although he tries to couch his conduct as simply being a supportive husband and

 father, his encouragement and material and emotional support of their presence in the tree stands

 violates the injunction entered against him. See Roe, 54 F.3d at 138–39. Thus, the court

 concludes that MVP has established the third element by clear and convincing evidence.



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        As to the fourth element of its civil contempt claim, MVP presented clear evidence of

 harm from the violations. It offered a number of examples. At a minimum, MVP incurred delay

 charges that it had to pay to the contractors who were felling trees on the Terry parcels on April

 12, an amount of approximately $5,800. There was also undisputed testimony that MVP had to

 pay two specialty climbing crews to fell trees near or around the tree stands and a witness

 testified that MVP will incur additional costs to mobilize the full crew back to the area a second

 time to cut the balance of the trees (which, together with the $5,800 above, resulted in a total cost

 of incremental work on account of the tree sitting of about $15,200). MVP witnesses also

 testified that it incurred costs to survey the location of the tree stands to confirm they were within

 the Easements (in the amount of $4,300) and to maintain security around the two sites ($21,600

 per site through the date of the hearing). Additionally, MVP has incurred attorneys’ fees in

 having to prosecute the contempt motion. Thus, the final element is established, too.

        As a final note, applicable to Coles, Red, and Minor, the court is not convinced by the

 proffered explanation that they were acting to prevent what they believed would be a violation of

 the court’s order by MVP, if it continued tree-felling after March 31. To the extent they are

 claiming that they were acting in a good faith belief that MVP’s actions were unlawful and thus

 their actions were lawful and not contemptuous, the law is against them. Indeed, the intent of the

 Terrys is irrelevant to whether or not they violated the order. As the Fourth Circuit held in

 McLean v. Central States, 762 F.2d 1204 (4th Cir. 1985):

                Orders of the courts must be promptly complied with, absent a
                stay, for appeal is the remedy for decisions believed to be
                erroneous. Maness v. Meyers, 419 U.S. 449, 458–59 (1975).
                Hence, good faith alone does not immunize a party from a civil
                contempt sanction for non-compliance with a court order. See
                McComb v. Jacksonville Paper Co., 336 U.S. 187 (1949).




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 McLean, 762 F.2d at 1210; see also Redner’s Markets, Inc. v. Joppatowne G.P. Ltd. P’ship, 608

 F. App’x 130, 131 (4th Cir. 2015) (“Willfulness is not an element of civil contempt.”); Omega

 World Travel, Inc. v. Omega Travel & Shipping Agencies, Inc., 905 F.2d 1530, 1990 WL 74305,

 at *2 (4th Cir. 1990) (unpublished table decision) (quoting McLean).10 Put differently, “[a]n act

 does not cease to be a violation of a law and of a decree merely because it may have been done

 innocently.” McComb v. Jacksonville Paper Co., 336 U.S. 187, 191 (1949). Thus, even if the

 Terrys’ conduct was in “good faith” based on their belief that MVP’s tree-felling was illegal,

 they are still liable for violating the clear prohibition in the court’s March 7 orders.

              In any event, even if “good faith” were a defense, the court does not find that the facts

 here support it. Instead, the overwhelming evidence before the court is that the Terrys’

 motivation was not to stop MVP from engaging in “unlawful” tree-felling after March 31, 2018,

 but to stop or delay the pipeline altogether and to stop or delay the cutting down of trees on the

 Terry parcels, regardless of the timing. There was convincing evidence, by the Terrys’ actions

 and even in their own words, that they were engaged in a protest against the entirety of the

 pipeline and not just to ensure that MVP complied with a March 31, 2018 deadline.

              Notably, there was not a single reference by any of the Terrys in the four news clips

 played in court in which they asserted that they were in tree stands so that MVP could not fell
 																																																								
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               Although the Fourth Circuit previously recognized that a “good faith attempt . . . to comply” with an
 order can be a defense to a civil contempt order, Consolidation Coal Co. v. Local 1702, 683 F.2d 827, 831 (4th Cir.
 1982), McLean appears to have rejected that proposition. Nonetheless, several lower courts and even the Fourth
 Circuit itself have continued to rely on a “good faith” defense, without mentioning McLean. See Schwartz v. Rent-A-
 Wreck of Am., 261 F. Supp. 3d 607, 616 n.8 (D. Md. 2017) (collecting authority and discussing the issue). Even if
 McLean did not overrule Consolidation Coal, though, the formulation in Consolidation Coal was that “a good faith
 attempt . . . to comply” with the court’s order could be a defense to contempt. That is not the contention here. The
 Terrys are not claiming that they tried not to interfere with MVP’s rights to use its easement, but they were
 unsuccessful. To the extent they are trying to claim “good faith” at all, the Terrys are arguing that they prevented
 MVP’s tree-felling because of their belief that their interpretation of the court’s orders was correct, and so in “good
 faith” in that sense. That type of “good faith” seems to the court to fall squarely within McLean’s explanation as to
 why good faith is not a defense. 762 F.2d at 1210 (“Appeal is the remedy for decisions believed to be erroneous.”).
 And McLean relied on McComb, which itself noted that an enjoined party could petition the court for modification,
 clarification, or construction, but when a party instead makes its “own determination of what the decree mean[s],” it
 acts at its own peril. 336 U.S. at 192.

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 trees after that date, or to stop MVP from violating a court order. To the contrary, Red said she

 was “hoping people will open their eyes and look at which kind of devastation [the pipeline] is

 going to do.” She and Minor referenced the harmful effects on water, the possibility of a

 pipeline leaking and blowing up, the fact that a private company was putting “profit before

 people.” Coles said they were “worried about the pipeline.” Tellingly, in the April 2, 2018

 Roanoke Times clip, Red was asked, “Did you ever think you’d be doing something like this?”

 She responded: “Yes, as soon as Mountain Valley approached us three years ago, I thought I’d

 be doing something like this.” The Terrys are, of course, free to make these statements, but the

 statements are properly considered as evidence that contradicts their defense.

        Moreover, there is also evidence that the stands were built and at least Red was in her

 stand at some point in March, which undermines their assertion that they were only trying to stop

 post-March 31 tree-felling. Thus, to the extent Coles (or Red or Minor) have asserted this

 argument as a type of “good faith” defense, the court also rejects it as unsupported by the

 evidence.

 D. Contempt Allegations Against Red and Minor

        Prior to turning to the elements of contempt as applied to Red and Minor, the court

 addresses briefly their contention that the court lacks personal jurisdiction over them, which was

 raised in their motion to reconsider the court’s show cause order. (Dkt. Nos. 823, 828, 829

 (briefing on motion).) The court denied that motion in a written order issued prior to the hearing

 (Dkt. No. 833), but their counsel argued again at the hearing that the court lacked jurisdiction

 over them.

        As discussed herein, the court finds that Red and Minor have, in fact, worked together

 and with Coles to violate the court’s injunction. Thus, they fall squarely within the class of



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 persons that are bound by an injunction. Federal Rule of Civil Procedure Rule 65(d)(2) provides

 that an injunctive order binds the following persons “who receive actual notice of it by personal

 service or otherwise”:

                 (A) the parties
                 (B) the parties’ officers, agents, servants, employees, and
                     attorneys; and
                 (C) other persons who are in active concert or participation with
                     anyone described in Rule 65(d)(2)(A) or (B).

 Fed. R. Civ. P. 65(d).

         Additionally, numerous courts have recognized that jurisdiction is proper over a nonparty

 who works in active concert with a party to violate an injunction. See, e.g., Gucci Am., Inc. v.

 Weixing Li, 768 F.3d 122, 137 (2d Cir. 2014) (recognizing that other circuits have permitted the

 exercise of jurisdiction over “nonparties who, with knowledge of an injunction, intentionally

 aided in its violation”); ClearOne Commc’ns, Inc., v. Bowers, 651 F.3d 1200, 1215–16 (10th Cir.

 2011) (“[A] district court may properly exercise personal jurisdiction over a nonparty for

 purposes of entering contempt orders, when the nonparty, with actual notice of an injunctive

 order issued by the district court, and in active concert or participation with a party, violates that

 order.”); S.E.C. v. Homa, 514 F.3d 661, 673–75 (7th Cir. 2008); Waffenschmidt v. MacKay, 763

 F.2d 711, 718–19 (5th Cir. 1985) (“We agree with the Second Circuit and hold that a court may

 assert jurisdiction over persons who, with knowledge of the court’s orders, actively aid and abet

 an enjoined party.”)

         As already explained above in addressing the claim against Coles, and for the same

 reasons, the court easily finds that Coles, Red, and Minor were in active concert or participation

 with one another. Thus, the authority above and Rule 65(d)(2) render Red and Minor subject to

 this court’s jurisdiction.



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         Turning to the contempt elements, MVP has satisfied the first two elements as against

 Red and Minor. The first is conceded, and for similar reasons discussed with regard to Cole, the

 court finds that the orders granting immediate possession were in MVP’s favor.

         As to the third element, MVP has also shown, by clear and convincing evidence, that Red

 and Minor violated the court’s order. The parties agree that Red’s and Minor’s tree stands are in

 the Easement boundaries, and MVP offered undisputed proof as to that fact and also as to the

 fact that construction crews were delayed in clearing trees due to the women’s presence there.

 Furthermore, the evidence is clear that Red and Minor, on multiple occasions, stated that their

 intent is to stop the Mountain Valley Pipeline. Thus, it cannot be disputed that their conduct

 constitutes a violation of that order, in that they have delayed, obstructed, or interfered with “use

 of the Easements by MVP or its agents, servants, employees, or contractors.” (Dkt. Nos. 592,

 593.)

         Additionally, for the same reasons already discussed with regard to Coles’ contempt,

 MVP has established the fourth element of its contempt claim.

 E. Appropriate Remedy for the Contempt

         Having found all three Terrys in contempt, the court has broad discretion to fashion an

 appropriate remedy to coerce compliance with the terms of its injunction. Int’l Union, United

 Mine Workers of Am. v. Bagwell, 512 U.S. 821, 828 (1994); United States v. Darwin Constr.

 Co., 873 F.2d 750, 756 (4th Cir. 1989). If the court elects to impose a fine, the purpose of the

 fine can be compensatory and/or coercive. United States v. United Mine Workers, 330 U.S. 258,

 303–04 (1947). Additionally, the court’s order may include a period of time in which the

 contemnor may purge herself of the contempt and avoid any penalties, before beginning to assess

 a daily fine. See, e.g., S.E.C. v. Dunlap, 253 F.3d 768, 771 (4th Cir. 2001).



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            The ultimate remedy that MVP seeks is the ability to use and work on the area of its

 Easements unimpeded, which will require Red and Minor to come down from (or be removed

 from) the tree stands. That is the action that the court is seeking to enforce with its contempt

 sanctions. The court also concludes that the time-frame for purging their contempt should be

 relatively short, given the amount of time they have been there already and their stated intention

 to stay.

            Accordingly, the court will give each woman until 11:59 p.m. on Saturday, May 5, 2018,

 to descend voluntarily from her tree stand and to leave the boundaries of MVP’s Easements.

 Thereafter, beginning on Sunday, May 6, each will be fined $1,000 for each day that she remains

 in the tree stand, and the fines shall be payable to MVP to compensate it for a portion of the

 losses it has sustained. If either one should continue to occupy her respective tree stand after

 11:59 p.m. on Thursday, May 10, 2018, the USMS will be authorized to arrest her, pursuant to

 specific conditions that the court sets forth in the accompanying order. An appropriate order will

 be entered to effectuate the court’s ruling.

            In terms of an opportunity to purge his contempt, Coles Terry is situated differently than

 Minor and Red because, at this point and after having worked with Red and Minor to violate the

 injunction, he cannot secure complete compliance with the court’s prior order on his own. That

 is, he would now need the cooperation of both Red and Minor. Accordingly, the court believes

 that, as to Coles, a compensatory fine of $2,000, payable to MVP, is an appropriate sanction.

 The conduct of all three Terrys has caused damages to MVP, and this amount represents

 approximately one-third of the delay costs paid to contractors and incurred by MVP on April 12,

 2018.




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                                          III. CONCLUSION

        The Terrys and many of their supporters have expressed their belief that the MVP project

 is ill-advised and a threat to their land and the area’s water supplies. Many landowners—and

 others—have engaged in lawful attempts to prevent or stop the construction of the pipeline, such

 as participating in FERC’s application process and state board hearings, opposing MVP’s

 motions in this action, requesting a rehearing from FERC, filing other lawsuits, appealing from

 various court orders, including the orders at issue here, and seeking stays of various court orders.

 Some of these efforts remain pending. As of this day, however, this court’s prior orders stand,

 And the Terrys do not dispute that, as of this date, FERC has granted MVP permission to clear

 trees on the Easements on the Terrys’ parcels. The court understands that the Terrys and others

 are disappointed and frustrated with the situation. But the Terrys have resorted to actions that

 clearly violate this court’s order and MVP’s rights under it.

        Even if their conduct is viewed as a form of civil disobedience intended to focus the

 public’s attention or to express their opposition to the project, those who disobey valid orders of

 a court should be prepared to face the consequences of doing so. Maness, 419 U.S. at 458–59

 (1975) (“If a person to whom a court directs an order believes that order is incorrect the remedy

 is to appeal, but, absent a stay, he must comply promptly with the order pending appeal. Persons

 who make private determinations of the law and refuse to obey an order generally risk . . .

 contempt even if the order is ultimately ruled incorrect.”). As Supreme Court Justice Felix

 Frankfurter ably expressed, “If one [person] can be allowed to determine for himself [or herself]

 what is law, every [person] can. That means first chaos, then tyranny.” United States v. United

 Mine Workers of Am., 330 U.S. 258, 312 (1947) (Frankfurter, J., concurring). Thus, the court

 will impose the sanctions described above to obtain compliance with its valid order.



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        MVP indicated a desire to recover attorneys’ fees. The court will entertain a separate

 motion for attorneys’ fees, with supporting documentation, if filed not later than May 31, 2018.

        An appropriate order will be entered.

        Entered: May 4, 2018.

                                                /s/ Elizabeth K. Dillon
                                                Elizabeth K. Dillon
                                                United States District Judge




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